    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 1 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 2 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 3 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 4 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 5 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 6 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 7 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 8 of 12
    Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 9 of 12
     Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 10 of 12
     Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 11 of 12
     Case 21-30589-MBK Doc 3951-1 Filed 05/04/23 Entered 05/04/23 14:40:14 Desc
Memorandum of Law of Aylstock Witkin Kreis & Overholtz PLLC ISO Motion to Allo Page 12 of 12
